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                         IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON

PETER LICHTE, JARROD BOWERS, and
DANIEL KELLY,

               Plaintiffs,                                    Civ. No. 6:14-cv-01521-AA

               v.                                             JUDGMENT

CITY OF WOODBURN, SCOTT
RUSSELL, JASON ALEXANDER and
MICHAEL HEREFORD,

            Defendants.
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Pursuant to the Stipulated Notice of Voluntary Dismissal, it is ordered that this action is hereby

dismissed with prejudice and without costs, disbursements, or attorney fees to any of the parties.

       DATED: 12/15/2017

                                              Mary L. Moran, Clerk



                                              By      /s/ Cathy Kramer
                                                      Deputy Clerk




1 –JUDGMENT
 
